         Case 1-15-43300-cec          Doc 755     Filed 10/24/19        Entered 10/24/19 16:15:37



                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK


       In re: HYPNOTIC TAXI LLC                                     §    Case No. 1-15-43300-CEC
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         GREGORY M. MESSER,TRUSTEE, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $1,206,114.58                      Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$353,422.10         Claims Discharged
                                                     Without Payment: N/A

 Total Expenses of Administration:$77,846.74


         3) Total gross receipts of $    431,268.84 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $431,268.84
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                              $0.00       $3,461,044.98        $353,422.10       $353,422.10

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                           0.00           65,663.67         49,970.00          49,970.00

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                     0.00        1,494,165.01         113,944.44         27,876.74
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                     0.00          129,857.13          97,167.51                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                         0.00       12,512,219.46      11,215,366.08                 0.00

                                               $0.00      $17,662,950.25     $11,829,870.13       $431,268.84
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on July 22, 2015.
  The case was pending for 36 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 10/09/2019                 By: /s/GREGORY M. MESSER,TRUSTEE
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                                  $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                              RECEIVED
     Taxi Cab Medallions #3P43 and #3P44 general inta                                     1129-000                                   372,000.00

     2013 Ford CMS (VIN #1FADP5AU2DL519069) Related t                                     1129-000                                     2,240.00

     2013 Toyota Camry (VIN #41T1BD1FK6DU077932) Rela                                     1129-000                                     2,240.00

     Burial Fees pursuant to Cash Collateral Order                                        1229-000                                    10,000.00

     Medallion Management Fees                                                            1290-000                                     8,000.00

     TURN OVER OF THE DIP ACCOUNT                                                         1290-010                                    13,115.96

     BUYERS PREMIUM                                                                       1229-000                                    22,320.00

     TURN OVER OF FUNDS HELD IN ESCROW                                                    1229-000                                     1,352.88


    TOTAL GROSS RECEIPTS                                                                                                            $431,268.84

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                                  $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                   PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                                  $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS              CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED               PAID
                                                       CODE                6D)
           1S   New York State Department of 4110-000                      N/A                     39,096.51                 0.00                   0.00
                Taxation & Finance
           1S-2 New York State Department of 4110-000                      N/A                     39,096.51                 0.00                   0.00
                Taxation & Finance
           1S-3 New York State Department of 4110-000                      N/A                     39,096.51               442.05                 442.05
                Taxation & Finance
          11    Citibank, N.A.               4110-000                      N/A                  3,343,755.45           352,980.05          352,980.05


    TOTAL SECURED CLAIMS                                                          $0.00       $3,461,044.98           $353,422.10         $353,422.10



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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                            CLAIMS          CLAIMS            CLAIMS       CLAIMS
                                       TRAN.
                                                    SCHEDULED       ASSERTED          ALLOWED        PAID
                                       CODE
 Trustee Compensation - GREGORY M.           2100-000         N/A         24,813.44     11,500.00      11,500.00
 MESSER,TRUSTEE
 Clerk of the Court Costs (includes          2700-000         N/A            350.00        350.00        350.00
 adversary and other filing fees) - CLERK
 Other - NYC DEPARTMENT OF FINANCE           2820-000         N/A             25.00         25.00         25.00

 Other - NEW YORK STATE CORPORATION TAX      2820-000         N/A             25.00         25.00         25.00

 Other - LAMONICA HERBST & MANISCALCO, LLP   3210-000         N/A         16,000.00     16,000.00      16,000.00

 Other - LEONARD HARRIS, CPA                 3410-000         N/A          4,198.41      1,818.18       1,818.18

 Auctioneer for Trustee Fees (including      3610-000         N/A         10,500.00     10,500.00      10,500.00
 buyers premiums) - MALTZ AUCTIONS,INC.
 Other - NY State Dept. of Tax               2990-000         N/A          4,000.87      4,000.87       4,000.87

 Other - GREGORY MESSER, TRUSTEE             2300-000         N/A             11.85         11.85         11.85

 Other - NY TAG AND TITLE TOGO               2990-000         N/A            440.00        440.00        440.00

 Other - NYS CORPORATION TAX                 2820-000         N/A             13.00         13.00         13.00

 Other - NYC DEPT OF FINANCE                 2820-000         N/A             13.00         13.00         13.00

 Other - MIKES HEAVY DUTY TOWING             2990-000         N/A            500.00        500.00        500.00

 Other - NY TAG & TITLE TOGO                 2990-000         N/A          1,131.50      1,131.50       1,131.50

 Other - GREGORY MESSER, TRUSTEE             2300-000         N/A          1,711.55      1,711.55       1,711.55

 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Other - NYS CORPORATION TAX                 2820-000         N/A            200.00        200.00        200.00

 Other - NYC DEPARTMENT OF FINANCE           2820-000         N/A            200.00        200.00        200.00

 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Auctioneer for Trustee Fees (including      3610-000         N/A          1,310.43      1,310.43       1,310.43
 buyers premiums) - MALTZ AUCTIONS,INC.
 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A             10.00         10.00         10.00

 Other - Rabobank, N.A.                      2600-000         N/A              5.00          5.00           5.00

 Other - Rabobank, N.A.                      2600-000         N/A              5.00          5.00           5.00

 Other - GREGORY MESSER, TRUSTEE             2300-000         N/A            139.62        139.62        139.62

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A              $65,663.67    $49,970.00    $49,970.00
 AND CHARGES


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EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM
    PAYEE                                           CLAIMS            CLAIMS             CLAIMS        CLAIMS
                                         TRAN.
                                                   SCHEDULED         ASSERTED           ALLOWED         PAID
                                         CODE
 NY State Dept. of Tax                  6990-000      N/A                  13,837.05       13,837.05      3,385.27

 Klestadt Winters Jureller Southard &   6220-000      N/A                 427,391.92       19,426.00      4,752.61
 Stevens, LLP
 Joshua Rizack                          6990-000      N/A                 216,167.86        9,825.81      2,403.90

 DiConza Traurig Kadish LLP             6990-000      N/A                 164,835.52        7,492.52      1,833.06

 EisnerAmper LLP                        6990-000      N/A                  70,273.50        3,194.25       781.48

 White and Williams LLP                 6990-000      N/A                 567,275.60       25,785.25      6,308.41

 NYC Taxi & Limousine Commission        6990-000      N/A                    9,493.80       9,493.80      2,322.68

 NYC Department of Finance              6990-000      N/A                  24,889.76       24,889.76      6,089.33

 TOTAL PRIOR CHAPTER ADMIN.                           N/A              $1,494,165.01     $113,944.44    $27,876.74
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM     CLAIMS            CLAIMS
   CLAIM                                           SCHEDULED         ASSERTED            CLAIMS        CLAIMS
    NO.             CLAIMANT             TRAN.     (from Form       (from Proofs of     ALLOWED         PAID
                                         CODE          6E)               Claim)
      1P   New York State Department of 5800-000      N/A                    7,576.40           0.00          0.00
           Taxation & Finance
      1P-2 New York State Department of 5800-000      N/A                    7,576.40           0.00          0.00
           Taxation & Finance
      1P-3 New York State Department of 5800-000      N/A                    7,576.40       7,576.40          0.00
           Taxation & Finance
      3    NYC Department of Finance    5800-000      N/A                    4,584.00       4,584.00          0.00

      4    NYC Department of Finance    5800-000      N/A                  79,939.69       79,939.69          0.00

      7    Geico                        5800-000      N/A                    5,067.42       5,067.42          0.00

     17    NY State Dept. of Tax        5800-000      N/A                    8,768.41           0.00          0.00

     17 -2 NY State Dept. of Tax        5800-000      N/A                    8,768.41           0.00          0.00

 TOTAL PRIORITY UNSECURED                                   $0.00        $129,857.13      $97,167.51        $0.00
 CLAIMS




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EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM     CLAIMS            CLAIMS
   CLAIM                                           SCHEDULED         ASSERTED             CLAIMS          CLAIMS
    NO.          CLAIMANT                TRAN.     (from Form       (from Proofs of      ALLOWED           PAID
                                         CODE          6F)               Claim)
      1U   New York State Department of 7100-000      N/A                    1,792.05              0.00        0.00
           Taxation & Finance
      1U-2 New York State Department of 7100-000      N/A                    1,792.05              0.00        0.00
           Taxation & Finance
      1U-3 New York State Department of 7100-000      N/A                    1,792.05          1,792.05        0.00
           Taxation & Finance
      2    Steven Stankovski            7100-000      N/A                  50,000.00          50,000.00        0.00

      5    Miguel Carchipulla           7100-000      N/A                 100,000.00         100,000.00        0.00

      6    Josette Marie Tenas-Reynard 7100-000       N/A               5,000,000.00       5,000,000.00        0.00

      8    Peri Edelstein               7100-000      N/A               1,000,000.00       1,000,000.00        0.00

      9    Windels Marx Lane &          7100-000      N/A                  43,269.28               0.00        0.00
           Mittendorf, LLP
     10    Evgeny Freidman              7100-000      N/A               1,250,000.00               0.00        0.00

     12    Windels Marx Lane &          7100-000      N/A                  41,463.25          41,463.25        0.00
           Mittendorf, LLP
     13    Gregory S. Root, Esq.        7100-000      N/A                       500.00          500.00         0.00

     14    Hereford Insurance Company   7100-000      N/A                 N/A                      0.00        0.00

     14 -2 Hereford Insurance Company   7100-000      N/A                 N/A                      0.00        0.00

     14 -3 Hereford Insurance Company   7100-000      N/A                 N/A                      0.00        0.00

     15    Juan Abreu                   7200-000      N/A               5,000,000.00       5,000,000.00        0.00

     16    Hereford Insurance Company   7200-000      N/A                 N/A                      0.00        0.00

     26    Hereford Insurance Company   7100-000      N/A                  21,610.78          21,610.78        0.00

 TOTAL GENERAL UNSECURED                                    $0.00     $12,512,219.46     $11,215,366.08       $0.00
 CLAIMS




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                                                                                                                                                                  Exhibit 8


                                                                                Form 1                                                                            Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 1-15-43300-CEC                                                             Trustee:         (520670)     GREGORY M. MESSER,TRUSTEE
Case Name:        HYPNOTIC TAXI LLC                                                     Filed (f) or Converted (c): 09/22/16 (c)
                                                                                        §341(a) Meeting Date:         10/26/16
Period Ending: 10/09/19                                                                 Claims Bar Date:              12/21/15

                                1                                         2                         3                      4             5                   6

                    Asset Description                                  Petition/          Estimated Net Value          Property     Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled     (Value Determined By Trustee,    Abandoned     Received by      Administered (FA)/
                                                                        Values          Less Liens, Exemptions,       OA=§554(a)     the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                         Remaining Assets

 1       Reimbursement insurance policy on tort claims wi                     0.00                          0.00                              0.00                    FA

 2       Surety bond as guarantor for self-insurance on p                     0.00                          0.00                              0.00                    FA

 3       Workers' Compensation and Employers' Liability I                     0.00                          0.00                              0.00                    FA

 4       Loan to shareholder per 2013 tax return.                        21,114.58                   21,114.58                                0.00                    FA

 5       Taxi Cab Medallions #3P43 and #3P44 general inta             1,900,000.00                  372,000.00                          372,000.00                    FA

 6       2013 Ford CMS (VIN #1FADP5AU2DL519069)                          10,000.00                      1,000.00                          2,240.00                    FA
         Related t

 7       2013 Toyota Camry (VIN #41T1BD1FK6DU077932)                     10,200.00                      1,000.00                          2,240.00                    FA
         Rela

 8       Burial Fees pursuant to Cash Collateral Order (u)               10,000.00                   10,000.00                           10,000.00                    FA
          Cash collateral order dated 10/23/15

 9       Medallion Management Fees (u)                                  184,000.00                  184,000.00                            8,000.00                    FA

10       Reimbursement insurance policy on tort claims wi (u)         1,150,000.00                 1,150,000.00                               0.00                    FA
          There is a claim against the management company
         and Evegny Friedman in the sum of $1,150,000.00.
         Estate will possibly obtain a judgment it is unlikely we
         will obtain any monetary recovery. Recovery will be
         nominal as 4 of the 5 defendants have filed Chapter 7
         bankrupties in the SDNY. If there was a recovery it
         would be split between the 22 cases.


11       TURN OVER OF THE DIP ACCOUNT (u)                                13,115.96                   13,115.96                           13,115.96                    FA

12       SETTLEMENT ON SALE OF TAXI CABS                                 35,000.00                   35,000.00                                0.00                    FA
          *Sale of certain vehicles in this and the related estate
         Pointer Taxi, Bourbon Taxi, Dorit and Candy Apple.

13       *** VOID***                                                          0.00                          0.00                              0.00                    FA

14       ***VOID****                                                          0.00                          0.00                              0.00                    FA

15       BUYERS PREMIUM (u)                                             513,360.00                  513,360.00                           22,320.00                    FA
          Buyer's premium associated with auction sale of
         medallions; will be paid to auctioneer upon entry of
         order authorizing payment. Order signed on 2/4/19.

16       TURN OVER OF FUNDS HELD IN ESCROW (u)                            1,352.88                      1,352.88                          1,352.88                    FA


                                                                                                                                   Printed: 10/09/2019 07:46 AM    V.14.56
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                                                                                                                                                                                 Exhibit 8


                                                                                    Form 1                                                                                       Page: 2

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 1-15-43300-CEC                                                                  Trustee:         (520670)       GREGORY M. MESSER,TRUSTEE
Case Name:         HYPNOTIC TAXI LLC                                                         Filed (f) or Converted (c): 09/22/16 (c)
                                                                                             §341(a) Meeting Date:           10/26/16
Period Ending: 10/09/19                                                                      Claims Bar Date:                12/21/15

                                 1                                           2                           3                          4                    5                   6

                     Asset Description                                  Petition/             Estimated Net Value              Property            Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                    Unscheduled        (Value Determined By Trustee,        Abandoned            Received by       Administered (FA)/
                                                                         Values             Less Liens, Exemptions,           OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                     Remaining Assets

17        CLAIMS against management company (u)                              Unknown                    1,000,000.00                                          0.00         1,000,000.00
            There is a claim against the management company
          and Evegny Friedman. The parties have entered into
          settlement agreements and Friedman consented to a
          judgment in the sum of $1,000,000.00. The Trustee
          does not intend to abandon that judgment but retains
          his right to reopen the case if it appears that Mr.
          Friedman has any available assets.

 17      Assets       Totals (Excluding unknown values)                $3,848,143.42                  $3,301,943.42                                   $431,268.84         $1,000,000.00



      Major Activities Affecting Case Closing:

                  10/26/16 - The case was converted to Chapter 7 on September 22, 2016. The Debtor is the owner of 46 taxi medallions


                  10/28/16 - The court authorized the Trustee to operate the Debtor's business and approved the management agreement for the fomer owners.


                  11/2/16 - The Trustee has retained the firm of LaMonica, Herbst & Maniscalco, LLP


                  1/20/17 - The Trustee retained Leonard Harris CPA as accountant to the Trustee.


                  2/3/17- The Trustee settled the claims of the former managers and four taxis.


                  3/9/17- The Trustee retained Maltz Auctions, Inc.


                  06/29/17 - The Trustee has ceased operating the Debtor's medallions and is preparing to sell the 46 medallions. There is a hearing seeking approval for the
                  sale of the medallions is scheduled for July 25, 2017.


                                  The statute of limitation expires on September 21, 2017 and the Trustee is investigating various claims against Debtor's estate.


                  1/23/18 - The auction for the sale of the vehicles took place.


                  6/13/18 -    The Trustee brought on a motion to sell the Debtor's Medallions and approve the stipulation with Citibank as the secured creditor. The order approving the
                  stipulation and approving the sale was signed on August 3, 2017. The Trustee brought on an action to sell the Debtor's vehicles.


                      The Trustee brought on an action against Evgeny Friedman and insiders of the Debtor. That action is pending and the Trustee is investigating claims against
                  Friedman and possibly other insiders.




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                                                                                                                                                                             Exhibit 8


                                                                                Form 1                                                                                       Page: 3

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 1-15-43300-CEC                                                              Trustee:        (520670)      GREGORY M. MESSER,TRUSTEE
Case Name:       HYPNOTIC TAXI LLC                                                       Filed (f) or Converted (c): 09/22/16 (c)
                                                                                         §341(a) Meeting Date:         10/26/16
Period Ending: 10/09/19                                                                  Claims Bar Date:              12/21/15

                              1                                          2                           3                       4                    5                      6

                    Asset Description                               Petition/             Estimated Net Value           Property             Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,     Abandoned             Received by      Administered (FA)/
                                                                     Values             Less Liens, Exemptions,        OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

                6/26/19- Trustee's Final Report filed. Final Hearing is scheduled for 8/7/19.




                1-15-43300 Hypnotic Taxi LLC Jointly Administered:


                1-15-43301-cec Bombshell Taxi LLC
                1-15-43302-cec Bourbon Taxi LLC
                1-15-43303-cec Butterfly Taxi LLC
                1-15-43304-cec Candy Apple Taxi LLC
                1-15-43305-cec Chianti Taxi LLC
                1-15-43306-cec Chopard Taxi, Inc.
                1-15-43307-cec Cupcake Taxi LLC
                1-15-43308-cec Dorit Transit Inc.
                1-15-43309-cec France Taxi LLC
                1-15-43310-cec Hennessey Taxi Inc.
                1-15-43311-cec Iceberg Taxi Inc.
                1-15-43312-cec Marseille Taxi LLC
                1-15-43313-cec Merlot Taxi LLC
                1-15-43314-cec Milkyway Cab Corp.
                1-15-43315-cec Palermo Taxi Inc.,
                1-15-43316-cec Pinot Noir Taxi LLC
                1-15-43317-cec Pointer Taxi LLC
                1-15-43318-cec Pudding Taxi Inc.
                1-15-43319-cec Stoli Taxi Inc.
                1-15-43320-cec Vodka Taxi LLC
                1-15-43321-cec VSOP Taxi Inc.

     Initial Projected Date Of Final Report (TFR):     April 2, 2019                        Current Projected Date Of Final Report (TFR):       June 26, 2019 (Actual)




                                                                                                                                            Printed: 10/09/2019 07:46 AM      V.14.56
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                                                                                                                                                                           Exhibit 9


                                                                                Form 2                                                                                     Page: 1

                                                     Cash Receipts And Disbursements Record
Case Number:         1-15-43300-CEC                                                            Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:           HYPNOTIC TAXI LLC                                                         Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******3866 - Checking Account
Taxpayer ID #: **-***6632                                                                      Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                        Separate Bond: N/A

   1            2                          3                                    4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance
10/13/16       {8}        KLESTADT WINTERS JURELLER       PAYMENT OF BURIAL FEES PURSUANT TO 1229-000                         10,000.00                                10,000.00
                          SOUTHARD & STEVENS              CASH COLLATERAL ORDER DATED
                                                          10/23/15
10/13/16      {11}        HYPNOTIC TAXI LLC               TURNOVER OF DIP ACCOUNT                         1290-010            13,115.96                                23,115.96
10/31/16                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         13.26       23,102.70
11/30/16                  From Account #******3867        TRANSFER OF FUNDS OCTOBER                       9999-000              4,000.00                               27,102.70
                                                          MONTHLY PAMENT UNDER MGMT
                                                          AGREEMENT 3P43, 3P44
11/30/16                  From Account #******3867        TRANSFER OF FUNDS NOVEMBER                      9999-000              4,000.00                               31,102.70
                                                          MONTHLY PAYMENT UNDER MGMT
                                                          AGREEMENT 3P43, 3P44
11/30/16                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         35.34       31,067.36
12/30/16                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         44.56       31,022.80
01/27/17      101         GREGORY MESSER, TRUSTEE         BOND PREMIUM PAYMENT ON LEDGER                  2300-000                                         11.85       31,010.95
                                                          BALANCE AS OF 01/26/2017 FOR CASE
                                                          #115-43300, Bond # 016027942
01/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         47.58       30,963.37
02/09/17      102         NY TAG AND TITLE TOGO           PLATE CANCELLATION SERVICE INV.                 2990-000                                        440.00       30,523.37
                                                          44685
02/09/17      103         MIKES HEAVY DUTY TOWING         TOWING SERVICE 3P44, 3P43                       2990-000                                        500.00       30,023.37
                          INC.                            Stopped on 03/30/17
02/28/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         41.33       29,982.04
03/15/17      104         NYS CORPORATION TAX             CT 5.4 XX-XXXXXXX 9/22/16-12/31/16              2820-000                                         13.00       29,969.04
03/15/17      105         NYC DEPT OF FINANCE             NYC-EXT XX-XXXXXXX 9/22/16-12/31/16             2820-000                                         13.00       29,956.04
03/30/17      103         MIKES HEAVY DUTY TOWING         TOWING SERVICE 3P44, 3P43                       2990-000                                       -500.00       30,456.04
                          INC.                            Stopped: check issued on 02/09/17
03/30/17      106         MIKES HEAVY DUTY TOWING         TOWING SERVICE 3P44, 3P43 replacement           2990-000                                        500.00       29,956.04
                                                          check
03/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         45.29       29,910.75
04/28/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         40.22       29,870.53
05/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         47.25       29,823.28
06/30/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         42.89       29,780.39
07/05/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                       -357.72       30,138.11
                                                          Adjustment
07/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         10.00       30,128.11
08/31/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                         10.00       30,118.11
10/16/17                  Rabobank, N.A.                  Bank and Technology Services Fee                2600-000                                        -20.00       30,138.11
                                                          Adjustment

                                                                                                Subtotals :                  $31,115.96                  $977.85
{} Asset reference(s)                                                                                                                   Printed: 10/09/2019 07:46 AM        V.14.56
                             Case 1-15-43300-cec                   Doc 755               Filed 10/24/19                  Entered 10/24/19 16:15:37


                                                                                                                                                                                 Exhibit 9


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                                                     Cash Receipts And Disbursements Record
Case Number:         1-15-43300-CEC                                                                  Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:           HYPNOTIC TAXI LLC                                                               Bank Name:          Rabobank, N.A.
                                                                                                     Account:            ******3866 - Checking Account
Taxpayer ID #: **-***6632                                                                            Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                              Separate Bond: N/A

   1            2                          3                                       4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                    T-Code              $                  $       Account Balance
11/21/17      107         NY TAG & TITLE TOGO             NYS REGISTRATION FEE                                  2990-000                                    1,131.50         29,006.61
01/29/18      108         GREGORY MESSER, TRUSTEE         BOND PREMIUM PAYMENT ON LEDGER                        2300-000                                    1,711.55         27,295.06
                                                          BALANCE AS OF 12/31/2017 FOR CASE
                                                          #115-43300, Bond # 016027942
02/15/18                  MALTZ AUCTIONS                  TAXI (AUTOMOBILE) SALE PROCEEDS                                             4,480.00                               31,775.06
               {7}                                           Taxi Sale Proceeds                  2,240.00       1129-000                                                     31,775.06
               {6}                                           Taxi Sale Proceeds                  2,240.00       1129-000                                                     31,775.06
02/28/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        31,765.06
03/30/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        31,755.06
04/30/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        31,745.06
05/01/18      109         MALTZ AUCTIONS,INC.             AUCTIONEER'S FEES AND EXPENSES                        3610-000                                    1,310.43         30,434.63
05/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        30,424.63
06/29/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        30,414.63
07/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        30,404.63
08/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                        10.00        30,394.63
09/28/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                         5.00        30,389.63
10/31/18                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                         5.00        30,384.63
02/27/19      {16}        ABRAMS FENSTERMAN,              TURN OVER OF FUNDS HELD IN ESCROW                     1229-000              1,352.88                               31,737.51
                          FENSTERMAN, EISMAN
02/27/19      110         GREGORY MESSER, TRUSTEE         BOND PREMIUM PAYMENT ON LEDGER                        2300-000                                       139.62        31,597.89
                                                          BALANCE AS OF 02/27/2019 FOR CASE
                                                          #115-43300, EDNY BLANKET BOND
                                                          PREMIUM #016027942
04/09/19                  From Account #******3868        TRANSFER OF FUNDS                                     9999-000            40,497.90                                72,095.79
04/09/19                  From Account #******3867        TRANSFER OF FUNDS                                     9999-000            35,000.00                            107,095.79
05/29/19    111 {12}      POINTER TAXI, INC.              APPORTIONMENT OF SALE PROCEEDS                        1129-000             -8,750.00                               98,345.79
05/29/19    112 {12}      BOURBON TAXI LLC                APPORTIONMENT OF SALE PROCEEDS                        1129-000             -8,750.00                               89,595.79
                                                          FROM TAXI CABS
05/29/19    113 {12}      DORIT TRANSIT LLC               APPORTIONMENT OF SALE PROCEEDS                        1129-000             -8,750.00                               80,845.79
                                                          FROM TAXI CABS
05/29/19    114 {12}      CANDY APPLE TAXI, LLC           APPORTIONMENT OF SALE PROCEEDS                        1129-000             -8,750.00                               72,095.79
                                                          FROM TAXI CABS
08/13/19      115         GREGORY M. MESSER,TRUSTEE Dividend paid 100.00% on $11,500.00,                        2100-000                                   11,500.00         60,595.79
                                                          Trustee Compensation; Reference:
08/13/19      116         NEW YORK STATE                  Dividend paid 100.00% on $25.00, Other State          2820-000                                        25.00        60,570.79
                          CORPORATION TAX                 or Local Taxes (post-petition, incl. post-petition
                                                          real est. taxes); Reference:
08/13/19      117         NYC DEPARTMENT OF FINANCE       Dividend paid 100.00% on $25.00, Other State          2820-000                                        25.00        60,545.79

                                                                                                      Subtotals :                  $46,330.78            $15,923.10
{} Asset reference(s)                                                                                                                         Printed: 10/09/2019 07:46 AM        V.14.56
                            Case 1-15-43300-cec                          Doc 755               Filed 10/24/19                  Entered 10/24/19 16:15:37


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                                                                                        Form 2                                                                                          Page: 3

                                                   Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                                         Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                                      Bank Name:          Rabobank, N.A.
                                                                                                           Account:            ******3866 - Checking Account
Taxpayer ID #: **-***6632                                                                                  Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                                    Separate Bond: N/A

   1            2                          3                                               4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                                  Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                     Description of Transaction                    T-Code              $                   $       Account Balance
                                                                or Local Taxes (post-petition, incl. post-petition
                                                                real est. taxes); Reference:
08/13/19      118        LEONARD HARRIS, CPA                    Dividend paid 100.00% on $1,818.18,                   3410-000                                    1,818.18         58,727.61
                                                                Accountant for Trustee Fees (Other Firm);
                                                                Reference:
08/13/19      119        MALTZ AUCTIONS,INC.                    Dividend paid 100.00% on $10,500.00,                  3610-000                                   10,500.00         48,227.61
                                                                Auctioneer for Trustee Fees (including buyers
                                                                premiums); Reference:
08/13/19      120        LAMONICA HERBST &                      Dividend paid 100.00% on $16,000.00,                  3210-000                                   16,000.00         32,227.61
                         MANISCALCO, LLP                        Attorney for Trustee Fees (Other Firm);
                                                                Reference:
08/13/19      121        CLERK US BANKRUPTCY COURT              Dividend paid 100.00% on $350.00, Clerk of            2700-000                                       350.00        31,877.61
                                                                the Court Costs (includes adversary and other
                                                                filing fees); Reference:
08/13/19      122        NY State Dept. of Tax                  Dividend paid 100.00% on $4,000.87, Other             2990-000                                    4,000.87         27,876.74
                                                                Chapter 7 Administrative Expenses;
                                                                Reference:
08/13/19      123        NY State Dept. of Tax                  Dividend paid 24.46% on $13,837.05, Other             6990-000                                    3,385.27         24,491.47
                                                                Prior Chapter Administrative Expenses;
                                                                Reference:
08/13/19      124        Klestadt Winters Jureller Southard &   Dividend paid 24.46% on $19,426.00,                   6220-000                                    4,752.61         19,738.86
                         Stevens, LLP                           Attorney for Trustee/D-I-P Expenses (Other
                                                                Firm) (Chapter 11); Reference:
08/13/19      125        Joshua Rizack                          Dividend paid 24.46% on $9,825.81, Other              6990-000                                    2,403.90         17,334.96
                                                                Prior Chapter Administrative Expenses;
                                                                Reference:
08/13/19      126        DiConza Traurig Kadish LLP             Dividend paid 24.46% on $7,492.52, Other              6990-000                                    1,833.06         15,501.90
                                                                Prior Chapter Administrative Expenses;
                                                                Reference:
08/13/19      127        EisnerAmper LLP                        Dividend paid 24.46% on $3,194.25, Other              6990-000                                       781.48        14,720.42
                                                                Prior Chapter Administrative Expenses;
                                                                Reference:
08/13/19      128        White and Williams LLP                 Dividend paid 24.46% on $25,785.25, Other             6990-000                                    6,308.41             8,412.01
                                                                Prior Chapter Administrative Expenses;
                                                                Reference:
08/13/19      129        NYC Taxi & Limousine Commission        Dividend paid 24.46% on $9,493.80, Other              6990-000                                    2,322.68             6,089.33
                                                                Prior Chapter Administrative Expenses;
                                                                Reference:
08/13/19      130        NYC Department of Finance              Dividend paid 24.46% on $24,889.76, Other             6990-000                                    6,089.33                 0.00


                                                                                                            Subtotals :                         $0.00          $60,545.79
{} Asset reference(s)                                                                                                                               Printed: 10/09/2019 07:46 AM        V.14.56
                            Case 1-15-43300-cec              Doc 755            Filed 10/24/19                    Entered 10/24/19 16:15:37


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                                               Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                            Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                         Bank Name:          Rabobank, N.A.
                                                                                              Account:            ******3866 - Checking Account
Taxpayer ID #: **-***6632                                                                     Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                       Separate Bond: N/A

   1            2                       3                                   4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From          Description of Transaction                   T-Code              $                  $       Account Balance
                                                     Prior Chapter Administrative Expenses;
                                                     Reference:

                                                                          ACCOUNT TOTALS                                     77,446.74              77,446.74               $0.00
                                                                                 Less: Bank Transfers                        83,497.90                   0.00
                                                                          Subtotal                                            -6,051.16             77,446.74
                                                                                 Less: Payments to Debtors                                               0.00
                                                                          NET Receipts / Disbursements                       $-6,051.16           $77,446.74




{} Asset reference(s)                                                                                                                  Printed: 10/09/2019 07:46 AM        V.14.56
                             Case 1-15-43300-cec                Doc 755           Filed 10/24/19                 Entered 10/24/19 16:15:37


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                                                   Cash Receipts And Disbursements Record
Case Number:         1-15-43300-CEC                                                          Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:           HYPNOTIC TAXI LLC                                                       Bank Name:          Rabobank, N.A.
                                                                                             Account:            ******3867 - Checking Account
Taxpayer ID #: **-***6632                                                                    Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                      Separate Bond: N/A

   1            2                          3                                  4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From            Description of Transaction              T-Code              $                  $       Account Balance
11/07/16       {9}        YELLOW TAXI SALES              TAXI MEDALLION                                 1290-000            54,000.00                                54,000.00
11/07/16       {9}        YELLOW TAXI SALES              MEDALLION MANAGEMENT FEES                      1290-000              4,000.00                               58,000.00
11/08/16       {9}        YELLOW TAXI SALES              TAXI MEDALLION                                 1290-000            34,000.00                                92,000.00
                          20161108G1B7011C00 0037
11/21/16       {9}        NORTHERN GRUB LLC              MEDALLION MANAGEMENT FEES                      1290-000              4,000.00                               96,000.00
11/21/16       {9}        NORTHERN GRUB LLC              TAXI MEDALLION                                 1290-000            34,000.00                            130,000.00
11/22/16       {9}        NORTHERN GRUB LLC              TAXI MEDALLION                                 1290-000            54,000.00                            184,000.00
11/30/16                  To Account #******3866         TRANSFER OF FUNDS OCTOBER                      9999-000                                    4,000.00     180,000.00
                                                         MONTHLY PAMENT UNDER MGMT
                                                         AGREEMENT 3P43, 3P44
11/30/16                  To Account #******3866         TRANSFER OF FUNDS NOVEMBER                     9999-000                                    4,000.00     176,000.00
                                                         MONTHLY PAYMENT UNDER MGMT
                                                         AGREEMENT 3P43, 3P44
11/30/16     101 {9}      ESTATE OF MILKYWAY CAB         OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -6,000.00                           170,000.00
                          CORP.                          MANAGEMENT AGREEMENT 7P37, 7P38,
                                                         7P39
11/30/16     102 {9}      ESTATE OF ICEBERG TAXI INC.    OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           166,000.00
                                                         MANAGEMENT AGREEMENT 2L29, 2L30
11/30/16     103 {9}      ESTATE OF CANDY APPLE TAXI,    OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           162,000.00
                          LLC                            MANAGEMENT AGREEMENT 6V13,6V14
11/30/16     104 {9}      ESTATE OF VODKA TAXI LLC       OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           158,000.00
                                                         MANAGEMENT AGREEMENT 9C40, 9C41
11/30/16     105 {9}      ESTATE OF CUPCAKE TAXI, LLC    OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           154,000.00
                                                         MANAGEMENT AGREEMENT 6V11, 6V12
11/30/16     106 {9}      ESTATE OF BUTTERFLY TAXI       OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           150,000.00
                          LLC                            MANAGEMENT AGREEMENT 9K36,9K37
11/30/16     107 {9}      ESTATE OF CHIANTI TAXI, LLC    OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           146,000.00
                                                         MANAGEMENT AGREEMENT 2L45, 2L46
11/30/16     108 {9}      ESTATE OF PUDDING TAXI, INC.   OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           142,000.00
                                                         MANAGEMENT AGREEMENT 6V25, 6V26
11/30/16     109 {9}      ESTATE OF VSOP TAXI, INC.      OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           138,000.00
                                                         MANAGEMENT AGREEMENT 2V82, 2V83
11/30/16     110 {9}      ESTATE OF DORIT TRANSIT INC.   OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           134,000.00
                                                         MANAGEMENT AGREEMENT 9L48, 9L49
11/30/16     111 {9}      ESTATE OF POINTER TAXI, LLC    OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                           130,000.00
                                                         MANAGEMENT AGREEMENT 8P16, 8P17
11/30/16     112 {9}      ESTATE CHOPARD TAXI, INC.      OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -6,000.00                           124,000.00
                                                         MANAGEMENT AGREEMENT 7P48,7P49,
                                                         7P50
                                                                                             Subtotals :                  $132,000.00              $8,000.00
{} Asset reference(s)                                                                                                                 Printed: 10/09/2019 07:46 AM        V.14.56
                            Case 1-15-43300-cec                 Doc 755           Filed 10/24/19                 Entered 10/24/19 16:15:37


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                                               Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                           Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                        Bank Name:          Rabobank, N.A.
                                                                                             Account:            ******3867 - Checking Account
Taxpayer ID #: **-***6632                                                                    Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                      Separate Bond: N/A

   1            2                       3                                     4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From              Description of Transaction              T-Code              $                  $       Account Balance
11/30/16     113 {9}     ESTATE OF MILKYWAY CAB          NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -6,000.00                           118,000.00
                         CORP.                           MANAGEMENT AGREEMENT 7P37, 7P38,
                                                         7P39
11/30/16     114 {9}     ESTATE OF ICEBERG TAXI INC.     NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                           114,000.00
                                                         MANAGEMENT AGREEMENT 2L29, 2L30
11/30/16     115 {9}     ESTATE OF CANDY APPLE TAXI,     NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                           110,000.00
                         LLC                             MANAGEMENT AGREEMENT 6V13, 6V14
11/30/16     116 {9}     ESTATE OF VODKA TAXI, LLC       NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                           106,000.00
                                                         MANAGEMENT AGREEMENT 9C40, 9C41
11/30/16     117 {9}     ESTATE OF CUPCAKE TAXI, LLC     NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                           102,000.00
                                                         MANAGEMENT AGREEMENT 6V11, 6V12
11/30/16     118 {9}     ESTATE OF BUTTERFLY TAXI        NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               98,000.00
                         LLC                             MANAGEMENT AGREEMENT 9K36, 9K37
11/30/16     119 {9}     ESTATE OF CHIANTI TAXI LLC      NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               94,000.00
                                                         MANAGEMENT AGREEMENT 2L45, 2L46
11/30/16     120 {9}     ESTATE OF PUDDING TAXI, INC.    NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               90,000.00
                                                         MANAGEMENT AGREEMENT 6V25, 6V26
11/30/16     121 {9}     ESTATE OF VSOP TAXI INC.        NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               86,000.00
                                                         MANAGEMENT AGREEMENT 2V82, 2V83
11/30/16     122 {9}     ESTATE OF DORIT TRANSIT, INC.   NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               82,000.00
                                                         MANAGEMENT AGREEMENT 9L48, 9L49
11/30/16     123 {9}     ESTATE POINTER TAXI, LLC        NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               78,000.00
                                                         MANAGEMENT AGREEMENT 8P16, 8P17
11/30/16     124 {9}     ESTATE OF CHOPARD TAXI INC.     NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -6,000.00                               72,000.00
                                                         MANAGEMENT AGREEMENT 7P48, 7P49,
                                                         7P50
11/30/16     125 {9}     ESTATE OF STOLI TAXI, LLC       OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                               68,000.00
                                                         MANAGEMENT AGREEMENT 2V44, 2V45
11/30/16     126 {9}     ESTATE OF STOLI TAXI, INC.      NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               64,000.00
                                                         MANAGEMENT AGREEMENT 2V44, 2V45
11/30/16     127 {9}     ESTATE OF PALERMO TAXI, INC.    OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                               60,000.00
                                                         MANAGEMENT AGREEMENT 4N74, 4N75
11/30/16     128 {9}     ESTATE OF PALERMO TAXI, INC.    NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               56,000.00
                                                         MANAGEMENT AGREEMENT 4N74, 4N75
11/30/16     129 {9}     ESTATE OF MARSEILLE TAXI,       OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                               52,000.00
                         LLC                             MANAGEMENT AGREEMENT 9V90,9V91
11/30/16     130 {9}     ESTATE OF MARSEILLE TAXI,       NOVEMBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               48,000.00
                         LLC                             MANAGEMENT AGREEMENT 9V90,9V91
11/30/16     131 {9}     ESTATE OF BOMBSHELL TAXI,       OCTOBER MONTHLY PAYMENT UNDER                  1290-000             -4,000.00                               44,000.00

                                                                                             Subtotals :                   $-80,000.00                 $0.00
{} Asset reference(s)                                                                                                                 Printed: 10/09/2019 07:46 AM        V.14.56
                            Case 1-15-43300-cec              Doc 755           Filed 10/24/19                 Entered 10/24/19 16:15:37


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                                                  Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                        Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                     Bank Name:          Rabobank, N.A.
                                                                                          Account:            ******3867 - Checking Account
Taxpayer ID #: **-***6632                                                                 Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                   Separate Bond: N/A

   1            2                         3                                4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                 Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From          Description of Transaction              T-Code              $                  $       Account Balance
                         LLC                           MANAGEMENT AGREEMENT 9J91, 9J92
11/30/16     132 {9}     ESTATE OF BOMBSHELL TAXI,     NOVEMBER MONTHLY PAYMENT UNDER                1290-000             -4,000.00                               40,000.00
                         LLC                           MANAGEMENT AGREEMENT 9J91, 9J92
11/30/16     133 {9}     ESTATE OF PINOT NOIR TAXI,    OCTOBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               36,000.00
                         LLC                           MANAGEMENT AGREEMENT 6G58,6G60
11/30/16     134 {9}     ESTATE OF PINOR NOIR TAXI,    NOVEMBER MONTHLY PAYMENT UNDER                1290-000             -4,000.00                               32,000.00
                         LLC                           MANAGEMENT AGREEMENT 6G58,6G60
11/30/16     135 {9}     ESTATE OF MERLOT TAXI LLC     OCTOBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               28,000.00
                                                       MANAGEMENT AGREEMENT 2P21, 2P22
11/30/16     136 {9}     ESTATE OF MERLOT TAXI LLC     NOVEMBER MONTHLY PAYMENT UNDER                1290-000             -4,000.00                               24,000.00
                                                       MANAGEMENT AGREEMENT 2P21, 2P22
11/30/16     137 {9}     ESTATE OF BOURBON TAXI, LLC   OCTOBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               20,000.00
                                                       MANAGEMENT AGREEMENT 2J62, 2J63
11/30/16     138 {9}     ESTATE OF BOURBON TAXI, LLC   NOVEMBER MONTHLY PAYMENT UNDER                1290-000             -4,000.00                               16,000.00
                                                       MANAGEMENT AGREEMENT 2J62, 2J63
11/30/16     139 {9}     ESTATE OF FRANCE TAXI LLC     OCTOBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                               12,000.00
                                                       MANAGEMENT AGREEMENT 9V96,9V97
11/30/16     140 {9}     ESTATE OF FRANCE TAXI LLC     NOVEMBER MONTHLY PAYMENT UNDER                1290-000             -4,000.00                                   8,000.00
                                                       MANAGEMENT AGREEMENT 9V96,9V97
11/30/16     141 {9}     ESTATE OF HENNESSEY TAXI,     OCTOBER MONTHLY PAYMENT UNDER                 1290-000             -4,000.00                                   4,000.00
                         INC.                          MANAGEMENT AGREEMENT 2V84,2V85
11/30/16     142 {9}     ESTATE OF HENNESSEY TAXI,     NOVEMBER MONTHLY PAYMENT UNDER                1290-000             -4,000.00                                       0.00
                         LLC                           MANAGEMENT AGREEMENT 2V84,2V85
01/23/17      {12}       NORTHERN GRUB LLC             SETTLEMENT OF ESTATES INTEREST IN             1129-000            35,000.00                                35,000.00
                                                       THE 4 VEHICLES
04/09/19                 To Account #******3866        TRANSFER OF FUNDS                             9999-000                                   35,000.00                 0.00

                                                                         ACCOUNT TOTALS                                  43,000.00              43,000.00               $0.00
                                                                                Less: Bank Transfers                           0.00             43,000.00
                                                                         Subtotal                                        43,000.00                   0.00
                                                                                Less: Payments to Debtors                                            0.00
                                                                         NET Receipts / Disbursements                   $43,000.00                  $0.00




{} Asset reference(s)                                                                                                              Printed: 10/09/2019 07:46 AM        V.14.56
                             Case 1-15-43300-cec               Doc 755            Filed 10/24/19                 Entered 10/24/19 16:15:37


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                                                  Cash Receipts And Disbursements Record
Case Number:         1-15-43300-CEC                                                          Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:           HYPNOTIC TAXI LLC                                                       Bank Name:          Rabobank, N.A.
                                                                                             Account:            ******3868 - Checking Account
Taxpayer ID #: **-***6632                                                                    Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                      Separate Bond: N/A

   1            2                            3                                4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                    Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                  $       Account Balance
09/05/17       {5}        MARBLEGATE SPECIAL           Deposit on sale of Medallion                     1129-000         1,155,750.00                          1,155,750.00
09/20/17       {5}        MARBLEGATE SPECIAL           REMAINING DEPOSIT ON SALE OF                     1129-000           641,010.00                          1,796,760.00
                                                       MEDALLIONS AND BUYERS PREMIUM
09/29/17                  Rabobank, N.A.               Bank and Technology Services Fee                 2600-000                                    1,606.66   1,795,153.34
01/17/18                  DEPALMA DISPATCH             SALE OF MEDALLIONS                                                7,272,600.00                          9,067,753.34
              {15}                                        BUYERS PREMIUM- TO           513,360.00       1229-000                                               9,067,753.34
                                                          BE PAID TO
                                                          AUCTIONEER UPON
                                                          ORDER OF THE
                                                          COURT
               {5}                                        SALE PROCEEDS-              6,759,240.00      1129-000                                               9,067,753.34
                                                          SALE OF MEDALLIONS
01/19/18     101 {5}      MILKWAY CAB CORP             TRANSFER OF SALE PROCEEDS                        1129-000           -558,000.00                         8,509,753.34
                                                       MEDALLIONS # 7P37, 7P38,7P39
01/19/18     102 {5}      ICEBERG TAXI, INC.           TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         8,137,753.34
                                                       MEDALLIONS 2L29, 2L30
01/19/18     103 {5}      CANDY APPLE TAXI, LLC        TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         7,765,753.34
                                                       MEDALLIONS 6V13, 6V14
01/19/18     104 {5}      VODKA TAXI, LLC              TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         7,393,753.34
                                                       MEDALLIONS 9V40,9V41
01/19/18     105 {5}      CUPCAKE TAXI, LLC            TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         7,021,753.34
                                                       MEDALLIONS 6V11,6V12
01/19/18     106 {5}      BUTTERFLY TAXI LLC           TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         6,649,753.34
                                                       MEDALLIONS 9K36,9K37
01/19/18     107 {5}      CHIANTI TAXI, LLC            TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         6,277,753.34
                                                       MEDALLIONS 2L45,2L46
01/19/18     108 {5}      PUDDING TAXI, LLC            TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         5,905,753.34
                                                       MEDALLIONS 6V25,6V26
01/19/18     109 {5}      VSOP TAXI INC.               TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         5,533,753.34
                                                       MEDALLIONS 2V82,2V83
01/19/18     110 {5}      DORIT TRANSIT INC.           TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         5,161,753.34
                                                       MEDALLIONS 9L48,9L49
01/19/18     111 {5}      POINTER TAXI, INC            TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         4,789,753.34
                                                       MEDALLIONS 8P16, 8P17
01/19/18     112 {5}      CHOPARD TAXI, LLC            TRANSFER OF SALE PROCEEDS                        1129-000           -558,000.00                         4,231,753.34
                                                       MEDALLIONS 7P48, 7P49, 7P50
01/19/18     113 {5}      STOLI TAXI, INC.             TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         3,859,753.34
                                                       MEDALLIONS 2V44, 2V45
01/19/18     114 {5}      PALERMO TAXI, INC.           TRANSFER OF SALE PROCEEDS                        1129-000           -372,000.00                         3,487,753.34
                                                                                              Subtotals :               $3,489,360.00              $1,606.66
{} Asset reference(s)                                                                                                                 Printed: 10/09/2019 07:46 AM        V.14.56
                            Case 1-15-43300-cec             Doc 755           Filed 10/24/19                 Entered 10/24/19 16:15:37


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                                                Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                       Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                    Bank Name:          Rabobank, N.A.
                                                                                         Account:            ******3868 - Checking Account
Taxpayer ID #: **-***6632                                                                Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                  Separate Bond: N/A

   1            2                         3                               4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From          Description of Transaction              T-Code              $                  $       Account Balance
                                                     MEDALLIONS 4N74, 4N75
01/19/18     115 {5}     MARSEILLE TAXI LLC          TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                          3,115,753.34
                                                     MEDALLIONS 9V90, 9V91
01/19/18     116 {5}     BOMBSHELL TAXI, LLC         TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                          2,743,753.34
                                                     MEDALLIONS 9J91, 9J92
01/19/18     117 {5}     PINOT NOIR TAXI, LLC        TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                          2,371,753.34
                                                     MEDALLIONS 6G58, 6G60
01/19/18     118 {5}     MERLOT TAXI, LLC            TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                          1,999,753.34
                                                     MEDALLIONS 2P21, 2P22
01/19/18     119 {5}     BOURBON TAXI LLC            TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                          1,627,753.34
                                                     MEDALLIONS 2J62, 2J63
01/19/18     120 {5}     FRANCE TAXI, LLC            TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                          1,255,753.34
                                                     MEDALLIONS 9V96, 9V97
01/19/18     121 {5}     HENNESSEY TAXI, LLC         TRANSFER OF SALE PROCEEDS                      1129-000           -372,000.00                           883,753.34
                                                     MEDALLIONS 2V84, 2V85
01/23/18                 Rabobank, N.A.              Bank and Technology Services Fee               2600-000                                   -1,606.66     885,360.00
                                                     Adjustment
02/01/18      122        CITIBANK N.A.               DISTRIBUTION TO SECURED CREDITOR               4110-000                                 352,980.05      532,379.95
02/01/18      123        NYS DEPT OF TAXATION AND    PAYMENT OF TAX CLAIM                           4110-000                                       442.05    531,937.90
                         FINANCE
03/13/18      124        NYS CORPORATION TAX         CT-5.4 EIN# XX-XXXXXXX 2017                    2820-000                                       200.00    531,737.90
03/13/18      125        NYC DEPARTMENT OF FINANCE   NYC - EXT EIN# XX-XXXXXXX 2017                 2820-000                                       200.00    531,537.90
02/18/19    126 {15}     MILKYWAY CAB COMPANY        ALLOCATION OF BUYERS PREMIUM TO                1229-000            -33,480.00                           498,057.90
                                                     ESTATE MEDALLION # 7P37,38,39
02/18/19    127 {15}     ICEBERG TAXI INC.           ALLOCATION OF BUYERS PREMIUM                   1229-000            -22,320.00                           475,737.90
                                                     MEDALLIONS 2L29,2L30
02/18/19    128 {15}     CANDY APPLE TAXI LLC        ALLOCATION OF BUYERS PREMIUM                   1229-000            -22,320.00                           453,417.90
                                                     MEDALLIONS 6V13,6314
02/18/19    129 {15}     VODKA TAXI LLC              ALLOCATION OF BUYERS PREMIUM                   1229-000            -22,320.00                           431,097.90
                                                     MEDALLIONS 9V40,9V41
02/18/19    130 {15}     CUPCAKE TAXI LLC            ALLOCATION OF BUYERS PREMIUM                   1229-000            -22,320.00                           408,777.90
                                                     MEDALLIONS 6V11,6V12
02/18/19    131 {15}     BUTTERFLY TAXI LLC          ALLOCATION OF BUYERS PREMIUM                   1229-000            -22,320.00                           386,457.90
                                                     MEDALLIONS NO. 9K36,9K37
02/18/19    132 {15}     CHIANTI TAXI LLC            ALLOCATION OF BOND PREMIUM                     1229-000            -22,320.00                           364,137.90
                                                     MEDALLIONS 2L45,2L46
02/18/19    133 {15}     PUDDING TAXING LLC          ALLOCATION OF BUYER PREMIUM                    1229-000            -22,320.00                           341,817.90
                                                     MEDALLION 6V25,6V26


                                                                                         Subtotals :               $-2,793,720.00        $352,215.44
{} Asset reference(s)                                                                                                             Printed: 10/09/2019 07:46 AM        V.14.56
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                                                  Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                        Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                     Bank Name:          Rabobank, N.A.
                                                                                          Account:            ******3868 - Checking Account
Taxpayer ID #: **-***6632                                                                 Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                   Separate Bond: N/A

   1            2                          3                               4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                 Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From          Description of Transaction              T-Code              $                  $       Account Balance
02/18/19    134 {15}     VSOP TAXI INC.                ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           319,497.90
                                                       MEDALLIONS 2V82,2V83
02/18/19    135 {15}     DORIT TRANSIT INC.            ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           297,177.90
                                                       MEDALLION 9L48,9L49
02/18/19    136 {15}     POINTER TAXI INC.             ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           274,857.90
                                                       MEDALLION 8P16,8P17
02/18/19    137 {15}     CHOPARD TAXI INC.             ALLOCATION OF BUYERS PREMIUM                  1229-000            -33,480.00                           241,377.90
                                                       MEDALLIONS 7P48,7P49,7P50
02/18/19    138 {15}     PALERMO TAXI INC.             ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           219,057.90
                                                       MEDALLION 2V44, 2V45
02/18/19    139 {15}     STOLI TAXI INC.               ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           196,737.90
                                                       MEDALLION 4N74,4N75
02/18/19    140 {15}     MARSEILLE TAXI LLC            ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           174,417.90
                                                       MEDALLION 9V90, 9V91
02/18/19    141 {15}     BOMBSHELL TAXI LLC            ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           152,097.90
                                                       MEDALLIONS 9J91, 9J92
02/18/19    142 {15}     PINOT NOIR TAXI LLC           ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           129,777.90
                                                       MEDALLIONS 6G58,6G60
02/18/19    143 {15}     MERLOT TAXI LLC               ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                           107,457.90
                                                       MEDALLION 2P21, 2P22
02/18/19    144 {15}     BOURBON TAXI LLC              ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                               85,137.90
                                                       MEDALLION 2J62,2J63
02/18/19    145 {15}     FRANCE TAXI LLC               ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                               62,817.90
                                                       MEDALLION 9V96,9V97
02/18/19    146 {15}     HENNESSEY TAXI INC.           ALLOCATION OF BUYERS PREMIUM                  1229-000            -22,320.00                               40,497.90
                                                       MEDALLION 2V84, 2V85
04/09/19                 To Account #******3866        TRANSFER OF FUNDS                             9999-000                                   40,497.90                0.00

                                                                         ACCOUNT TOTALS                                 394,320.00            394,320.00                $0.00
                                                                                Less: Bank Transfers                           0.00             40,497.90
                                                                         Subtotal                                       394,320.00            353,822.10
                                                                                Less: Payments to Debtors                                            0.00
                                                                         NET Receipts / Disbursements                  $394,320.00        $353,822.10




{} Asset reference(s)                                                                                                              Printed: 10/09/2019 07:46 AM        V.14.56
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                                                Cash Receipts And Disbursements Record
Case Number:        1-15-43300-CEC                                                          Trustee:            GREGORY M. MESSER,TRUSTEE (520670)
Case Name:          HYPNOTIC TAXI LLC                                                       Bank Name:          Rabobank, N.A.
                                                                                            Account:            ******3868 - Checking Account
Taxpayer ID #: **-***6632                                                                   Blanket Bond:       $69,289,805.00 (per case limit)
Period Ending: 10/09/19                                                                     Separate Bond: N/A

   1            2                        3                                   4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From             Description of Transaction              T-Code              $                  $       Account Balance

                              Net Receipts :      431,268.84
                                               ————————                                                                       Net             Net                   Account
                                Net Estate :     $431,268.84               TOTAL - ALL ACCOUNTS                             Receipts     Disbursements              Balances

                                                                           Checking # ******3866                            -6,051.16             77,446.74                0.00
                                                                           Checking # ******3867                           43,000.00                   0.00                0.00
                                                                           Checking # ******3868                          394,320.00            353,822.10                 0.00

                                                                                                                         $431,268.84        $431,268.84                   $0.00




{} Asset reference(s)                                                                                                                Printed: 10/09/2019 07:46 AM        V.14.56
